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 1                                                                            Judge Robart
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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10   UNITED STATES OF AMERICA,                  )
                                                )      NO. CR05-281JLR
11                        Plaintiff,            )
                                                )
12                 v.                           )
                                                )
13   MANUEL RUIZ-MALDONADO,                     )
     MIGUEL CISNEROS,                           )
14   MARIA CHAVEZ,                              )
     FIDEL DAZA-MIRANDA,                        )      ORDER CONTINUING
15   JORGE GUTIERREZ-RODRIGUEZ,                 )      TRIAL DATE AND PRETRIAL
     OSIEL GUZMAN-SILVERIO,                     )      MOTIONS DATE
16   JUAN PABLO JASSO-ARANDA,                   )
     ROBERT SHANE LUCAS,                        )
17   EFREN REYNAGA, and                         )
     ELENO RIOS-ORTIZ,                          )
18                                    )
                     Defendants.      )
19   _________________________________)
20          THIS MATTER comes before the Court on a motion by defendant Ruiz-
21   Maldonado to continue the trial date and the pretrial motions cut-off date, joined in by the
22   United States and by all defendants except Efren Reynaga and Eleno Rios-Ortiz. Having
23   considered the entirety of the record and files herein, the Court finds that failure to grant
24   a continuance would likely result in a miscarriage of justice. The case is unusual and
25   complex. A Superseding Indictment was returned on September 8, 2005. There are ten
26   defendants scheduled for trial, the majority of whom are in custody and Spanish-
27   speaking. Ten other defendants are charged in related federal and state cases. The
28   evidence includes a large number of intercepted telephone conversations in Spanish, and

     Order of Continuance – 1                                                      UNITED STATES ATTORNEY
     Rios-Ortiz, et al/CR05-281JLR                                                  700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
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 1   over 300 pages of reports from federal agents and state officers. Several pretrial motions
 2   have been filed and are pending.
 3          It is unreasonable to expect adequate preparation for trial before the current trial
 4   date of September 17, 2005. The Court further finds that the interests of the public and
 5   the defendants in a speedy trial in this case are outweighed by the ends of justice.
 6          IT IS NOW, THEREFORE, ORDERED that trial in this matter be continued to
 7   November 29, 2005, and that the time between the date of this Order and the new trial
 8   date be excludable time under the Speedy Trial Act pursuant to Title 18, United States
 9   Code, Sections 3161(h)(8)(A), 3161(h)(8)(B)(i), and 3161(h)(8)(B)(ii).
10          IT IS FURTHER ORDERED that pre-trial motions shall be filed on or before
11   October 28, 2005, and the government’s responses filed no later than November 4, 2005.
12          Dated this 3rd day of October, 2005.
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                                                       A
                                                       JAMES L. ROBART
                                                       United States District Judge
17
     Presented by:
18
     s/Douglas B. Whalley
19   DOUGLAS B. WHALLEY
     Assistant United States Attorney
20   United States Attorney's Office
     601 Union Street, Suite 5100
21   Seattle, WA 98101-3903
     (206) 553-4882, Fax: (206) 553-4440
22   E-mail: douglas.whalley@usdoj.gov
     Washington State Bar #4625
23
     s/ Susan M. Roe
24   SUSAN M. ROE
     Assistant United States Attorney
25   (206) 553-1077, Fax: (206) 553-4440
     E-mail: susan.roe@usdoj.gov
26   Washington State Bar #1300
27

28


     Order of Continuance – 2                                                      UNITED STATES ATTORNEY
     Rios-Ortiz, et al/CR05-281JLR                                                  700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
